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12                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF ARIZONA
13

14   United States of America,                            NO. CR-18-00422-PHX-SMB

15                            Plaintiff,                  DEFENDANT MICHAEL LACEY’S
     vs.                                                  REPLY IN FURTHER SUPPORT OF
16
                                                          SUPPLEMENT TO RULE 29 MOTION
17   Michael Lacey, et al.,                               CONCERNING COUNT 100
18                       Defendants.                      (Oral argument requested)
19

20

21           Michael Lacey (“Lacey”), by and through his undersigned counsel, files the instant reply in

22   further support of his Rule 29 Motion Concerning Count 100, and Rule 29 Supplement (Doc. 2004).

23   In its Response (Doc. 2020), the government has not provided this Court with a single case that

24   affirms a concealment money laundering conviction (domestic or international) with facts like this

25   case; namely: (1) a defendant who repeatedly stated his intent to file all disclosure forms with the

26   federal government related to the funds, pay taxes on the funds at issue, and avoid tax shelters of

27   any kind; (2) a defendant who timely filed the required disclosure forms, which identified the

28   attributes of the funds at issue (his relationship to the funds, their location, the amount, etc.); (3) a
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 1   defendant who sought the advice of an attorney on how to stabilize banking and who was advised
 2   by the attorney to explore an offshore trust; (4) a defendant who relied on two attorneys to form
 3   and execute an offshore trust; (5) documentation of the purposes of forming the trust that have
 4   nothing to do with concealment; and, most damaging to the government’s case, (6) a government
 5   witness who testified that he was able to follow each and every transaction with ease because the
 6   bank accounts were held in the proper names of parties at issue. (See Doc. 2004.) The Response
 7   does not provide a single case with facts remotely comparable to Count 100 because there was no
 8   concealment here, intended or actual, but instead, mere money spending, which court after court
 9   has held is not money laundering and, thus, not illegal. This Court should acquit Lacey of his
10   conviction for Count 100 because the proof is insufficient as a matter of law.
11                                              ARGUMENT
12   I.     There is no proof of intent to conceal.
13          The government’s only purported evidence of intent to conceal is evidence of nothing at all.
14   Lacey’s stated interest in placing funds where government parties could not “access” those funds
15   does not, as the government claims, establish his intent to conceal. The word “access” does not
16   mean the same thing as the word “conceal,” just like “hide” does not mean the same thing as
17   “possess.” The government has provided zero authority for the analytical leap it asks this Court to
18   take. Critically, this Court defined “concealment” for the jury as “the act of preventing disclosure
19   or refraining from disclosing.” (Dkt. 1999 at 4.) The word “access” is defined as “freedom or ability
20   to obtain or make use of something.”               See Websters-Miriam Dictionary, available at
21   https://www.merriam-webster.com/dictionary/access (last visited on Jan. 5, 20245). Nothing in
22   the definition of “access” provides any implication – let evidence – of “concealment.”
23          More importantly, Mr. Lacey’s statement about “access” cannot be read in a vacuum. The
24   testimony and exhibits admitted at trial demonstrate that, while Mr. Lacey was concerned about the
25   government interfering with his ability to bank or taking possession of his assets, , he never expressed
26   an intent to hide his assets from the government. Instead, Lin Howard testified that Lacey said that
27   “he wanted to make it clear that he wasn’t looking to avoid paying taxes, that he had a BDO
28                                                      2
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 1   he directed [sic] to make sure that all taxes were paid and no tax shelters were taken.”
 2   (10/12/13 P.M. Tr. at 11.) That testimony was consistent with Lacey’s own words as documented
 3   in an email: “I think I am ready to move forward with the visit to the Los Angeles lawyer you
 4   recommended who has expertise in off-shore. [T]o revisit for just a moment, I am not interested
 5   in any tax avoidance.” (Ex. 1 (emphasis added).) Even Lin Howard testified that she did not
 6   understand Mr. Lacey to be asking her for help concealing or hiding anything. (Day 17 P.M.
 7   at 16, 22.) Thus, even if “access” could be read in isolation to mean “conceal,” Lacey
 8   nonetheless identified many steps he intended to take to disclose the funds at issue to the
 9   government, and he followed through with those intended disclosures. (See Exs. 5541, 5545,
10   5546; Day 19 AM Tr. at 63; Day 23 PM Tr. at 81.)
11           The government’s second claim as to proof of intent to conceal is equally unavailing. Unable
12   to distance itself from the overwhelming evidence of intent to disclose, followed by actual
13   disclosure, the government claims that the flow of the funds from Backpage (a company then
14   owned and controlled by Ferrer) to Website Technologies (a company also then owned and
15   controlled by Ferrer) and then to Cereus Properties (a company co-owned by Lacey) that occurred
16   prior to the funds ever reaching Lacey’s bank accounts is proof of intent to conceal. Here, again,
17   the government’s evidence is proof of nothing.
18           First, the government’s own authority – United States v. Wilkes, 662 F.3d 524 (9th Cir. 2011)
19   – demonstrates that these transactions are not relevant. As the Ninth Circuit recognized, an essential
20   element of concealment money laundering conviction is proof that “the defendant conducted or
21   attempted to conduct a financial transaction”—and the only transaction relevant to Count 100 is
22   the transfer from Becker’s trust account to Lacey’s Hungary trust. Id. at 545. This element is
23   required because the “money laundering statute criminalizes behavior that masks the relationship
24   between an individual and his illegally obtained proceeds.” Id. (quoting United States v.
25   Adefehinti, 510 F.3d 319, 322 (D.C. Cir. 2007)). Critically, the Ninth Circuit did not begin its analysis
26   of proof of Wilkes’ intent to conceal until the funds at issue were put in possession of Wilkes. See
27   Wilkes, 662 F.3d at 547 (discussing financial transactions after Wilkes had control of the funds at
28                                                      3
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 1   issue). The transactions that preceded the deposit of the funds into an account controlled by Wilkes
 2   were not considered. See id. As a result, the only proof that is relevant to Lacey’s intent is what he
 3   did with the funds once they were deposited into his accounts – and as discussed throughout – his
 4   transactions were both easy to follow and timely disclosed to the government.
 5           Moreover, the transactions the government now seeks to loop in – transfers from Backpage
 6   to Website Technologies and then to Cereus Properties – involve transfers made by companies
 7   controlled by Ferrer after he purchased Backpage. Those transactions not only are not relevant to
 8   Count 100, but there was no proof that Lacey was involved with those transfers or was even aware
 9   of those transfers, so those transfers could have no bearing on Lacey’s intent. In addition to the
10   government’s lack of proof on this requisite element, there is significant proof that, as a general
11   matter, Lacey had nothing to do with Backpage’s operations even before Ferrer bought
12   Backpage.com. Several witnesses testified that Lacey had nothing to do with the business side of
13   any of the companies because there was a wall between the business and editorial side of their media
14   company, like most media companies. (Day 24 A.M. at 46-50; 97-98.) The government’s lead
15   witness, Ferrer, testified that Lacey was a “layer away” from Backpage, and Hyer, a top Backpage
16   employee, never interacted with Lacey the entire time Backpage operated. (Day 13 A.M. Tr. at 11;
17   10/19/23 Tr. P.M. at 112.) Lacey could not have intended to conceal something about which he
18   had no knowledge, so the government’s failure to prove Lacey’s knowledge of or involvement with
19   the transactions that preceded the deposit of funds into his accounts renders those transactions
20   irrelevant to the issue of Lacey’s intent.
21           Additionally, the financial transactions at issue in Wilkes are readily distinguishable from the
22   transactions in this case. In that case, Wilkes was convicted of domestic concealment money
23   laundering (among other convictions), for concealing the payoff of a Congressman’s second
24   mortgage, as part of a greater bribery conspiracy. See Wilkes, 662 F.3d at 530. Although the Ninth
25   Circuit summarized the facts concerning proof of concealment in its opinion, the government’s
26   appellate brief provided a more detailed discussion of the proof of intent to conceal, which
27   demonstrates that the proof of intent in Wilkes was far different than what the government cobbled
28                                                      4
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 1   together here. (See Brief for United States submitted on Mar. 14, 2011 in United States v. Wilkes,
 2   Ninth Circuit Case no. 08-50063 attached hereto as Exhibit A.)
 3          As relevant, Wilkes and a colleague, Wade, bribed a Congressman to give government
 4   contracts to their companies. During the conspiracy, the Congressman obtained two mortgages on
 5   a home that he wanted paid off by Wilkes and Wade. (Ex. at 21-22.) Wade paid off the first
 6   mortgage; however, Wilkes failed to pay off the second mortgage as quickly as the Congressman
 7   had requested. (Id. at 22.) Wilkes began to undertake efforts to pay off the mortgage on May 6,
 8   2004, which took over a week, including: (1) Wilkes depositing funds derived from the bribery
 9   conspiracy into a company he controlled, ADCS, Inc.; (2) Wilkes transferring that money to another
10   company he controlled, WBR Equities; and (3) Wilkes then transferring the money to Parkview
11   Financial Inc., a company controlled by Thomas Kontogiannis. (Id.; see also id. at 23 n.13.) But that
12   is not where the story ends. Before Wilkes began this series of transfers, Kontogiannis, through
13   Parkview Financial Inc., paid off the second mortgage, which was held by a company with no
14   association with Wilkes or Kontogiannis. (Id. at 23 n.13.) As such, there was no way to connect the
15   dollars that paid off the mortgage to the dollars Wilkes obtained from his criminal scheme, because
16   the mortgage was paid off before Wilkes made the final transfer to Parkview Financial, Inc.
17          In contrast with Wilkes, the proof at trial here showed that the money flowed from one
18   account to another in sequential order with proper account names for each account holder. (Day
19   19 AM Tr. at 62, Ex. 1479.) Further, the only third party who was involved was Lacey’s lawyer,
20   Becker, who on his own initiative, consolidated Lacey’s five grantor trust accounts into his
21   IOLTA, where the funds were held in an account for Lacey’s benefit, and then transferred to
22   a trust Lacey formed. Becker did not use his own funds to fund the trust only thento be
23   reimbursed by Lacey, like Kontogiannis in the Wilkes case, who used funds from a corporation he
24   controlled to pay off the Congressman’s mortgage who was then reimbursed by Wilkes. Instead,
25   Becker used Lacey’s funds that came directly from bank accounts that bore Lacey’s name. The
26   transactions followed a normal sequential order with no break in Lacey’s association or control of
27   the funds – a material distinction between this case and the Wilkes case – that the government tries
28                                                    5
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 1   to ignore.
 2           Another critical set of facts absent from Wilkes is the overwhelming evidence of intent to
 3   disclose and actual disclosure of the attributes of the funds. Prior to forming and funding the
 4   trust, Lacey told a bank employee and his lawyer that he wanted to pay taxes on the assets, and avoid
 5   tax shelters of any kind, meaning, he intended to tell the government about the offshore trust by
 6   declaring it on his tax returns and paying any taxes due. Then, a few weeks after the trust was funded,
 7   on February 21, 2017 – more than a year before he was indicted – Lacey asked Becker about
 8   who would be filing the disclosure forms with the government (Exs. 1, 6264), again, demonstrating
 9   Lacey’s intent to disclose and directly negating any intent to conceal. The government makes much
10   out of the fact that the first FBAR was not filed until 18 months after the funds were sent to Hungary
11   – but that claim ignores the fact that the initial FBAR was not due until April 14, 2018, and that
12   Lacey’s lawyers, on their own initiative and not at the request of Lacey, sought the short automatic
13   extension available to all filers. (10/24/13 P.M. Tr. at 132:4-6 (“Mr. Becker, did Mr. Lacey ever ask
14   that there be an extension for the filing of the FBAR? A. No.”).
15           Lacey has timely filed the requisite disclosure forms each year. The disclosure is not de
16   minimis, as the government claims, but instead, identifies the attributes of the funds – the very facts
17   that the government claims that Lacey has concealed from the government. The FBARs tell the
18   government that he is the taxpayer associated with the funds, the amount of the funds, the location
19   of the funds, and additionally provide a copy of the trust, which itself identifies all relevant parties.
20   (Exs. 5541, 5545, 5546.) Indeed, there is no concealment money laundering case involving
21   substantive disclosures like here cited by the government or located through research.
22           There is another important distinction between Wilkes and this case. Wilkes involved
23   domestic concealment money laundering. Lacey was convicted of international concealment
24   money laundering. The only transaction that occurred at Lacey’s direction that provided a basis for
25   charging him with international concealment money laundering was the transfer that Becker made
26   from his IOLTA account to the trust account in Hungary, for which there is no proof of intent to
27   conceal or concealment of any kind. If the government believed, as it now claims, that the transfers
28                                                      6
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 1   from Backpage to Website Technologies and then Website Technologies to Cereus Properties and
 2   then Cereus Properties to Lacey’s grantor trust bank accounts were proof of concealment, the
 3   government could have charged Lacey with domestic concealment money laundering. Instead, the
 4   government charged him with transactional money laundering for those transfers (for which the
 5   jury rendered no verdict).
 6   II.     There is no proof of intent to conceal, in part.
 7           The government’s next claim is that, even if there was proof of intent to accomplish some
 8   other objective – like stabilizing Lacey’s banking and the formation of a trust for the benefit of
 9   Lacey’s sons – there still is proof of intent to conceal, in part, which is sufficient proof to establish
10   the intent element. Here, again, there is no proof to support the government’s claim.
11           First, the record demonstrates that there was no concealment in part. The government’s
12   own witness killed this argument when he testified that the accounts bore the names of the relevant
13   party and that he was able to follow each transaction with ease. (Day 19 AM Tr. at 62, see also Ex.
14   1479.) On top of this testimony, the proof at trial demonstrated an intent to disclose and actual
15   disclosure. None of these facts provide support for the government’s concealment-in-part claim
16   and, as discussed above, depriving the government of access to a bank account is not the same thing
17   as concealing the bank account, even in part.
18           Second, the cases that the government cited for its concealment-in-part claim are readily
19   distinguishable. For example, in United States v. Singh, 995 F.3d 1069 (9th Cir. 2021), the defendant
20   transferred funds through an alternative “money transferring network” called “hawala” that was
21   “designed to transfer funds from point to point” with no “record keeping” or “government
22   oversight.” Id. at 1073. On top of that, the defendant used additional “secrecy” techniques such as
23   switching out Sim cards, using burner phones, using code words at transfers, and putting serial
24   numbers on dollar bills to verify the recipient of each transaction. See id. at 1074. Nothing about
25   that case is at all similar to the standardized banking transfers at issue here.
26           In United States v. Abouammo, 2022 WL 17584238 (N.D. Cal. Dec. 12, 2022), the defendant
27   opened an account in Lebanon under his father’s name, directed funds to be deposited to that
28                                                       7
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 1   account, and then directed funds to be transferred from that account to his account below the
 2   reporting amount and with the subject line “family fund.” See id. at *16-17. United States v. Huy Chi
 3   Luong, 468 F. App’x 710 (9th Cir. 2012), also involved extensive evidence of intent to conceal. The
 4   defendant had a third-party purchase teller’s checks to make payments on a home that was titled in
 5   his parents’ name, but which the defendant, in reality, actually owned. Again, none of that deception
 6   is present here. In United States v. Chang, 2020 WL 5702131 (N.D. Cal. Sept. 24, 2020), the defendant
 7   created two entities with names that sounded similar to the name of his church and then used those
 8   entities to siphon donations intended for the church for his personal gain. In doing so, among other
 9   things, he used identification of another church member to create one of the bank accounts through
10   which he moved the funds that correlated to the concealment money laundering charges. None of
11   the deception like these cases is present here.
12          Notably, United States v. Sun, 673 F. App’x 729 (9th Cir. 2016), supports acquittal on Count
13   100. In that case, the defendant put “illegal cash proceeds from his medical practice into his personal
14   bank account, rather than his business account” and told investigators that he did so to “avoid
15   reporting [the funds] to the IRS.” Id. at 733. The opposite is true here. Lacey directed Becker to
16   engage in a transaction that he was advised and knew would trigger a disclosure to the federal
17   government, he stated that he intended to make the disclosure, he directed his lawyers to make the
18   disclosure, and he has been making the disclosure ever since.
19          Finally, United States v. Twitchell, 69 F. App’x 892 (9th Cir. 2003), provides too little of a factual
20   discussion to be helpful and, in any event, is an unreported case that pre-dates the Supreme Court’s
21   seminal case on concealment, Cuellar v. United States, 553 U.S. 550 (2008). Similarly, United States
22   v. Kellum, 119 F. App’x 32 (9th Cir. 2004), is another unreported case that pre-dates Cuellar. It
23   involves a defendant who used ill-gotten gains to purchase a cashier’s check and the proof was that
24   this transaction made it harder for the government to discover the origin of the funds. Kellum stands
25   in stark contrast with this case where the government’s witness testified that the transactions were
26   easy to follow. (Day 19 AM Tr. at 62, see also Ex. 1479.)
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 1   III.   The transactions at issue were open and obvious.
 2          The government’s claim that the “transactions were not ‘open and obvious’” is at odds with
 3   the testimony of the government’s own witness, Quoc Thai. Indeed, Thai testified that all of the
 4   accounts had accurate names for the account holders and he could trace the funds from account to
 5   account, even with respect to the use of Becker’s IOLTA account because an attorney IOLTA
 6   account is “an account held in the name of a client . . . [b]y an attorney.” (Day 19 AM Tr. at 62, 64-
 7   65; see also Ex. 1479.) Because the funds were associated with Lacey before and after the transfer to
 8   Hungary, and the transactions were easy to follow, the transactions were open and obvious.
 9   IV.    There is no proof that Lacey knew that the trust was funded with proceeds.
10          There is no conviction that establishes that Lacey had knowledge that the funds at issue were
11   proceeds of specified unlawful activity in the form of Travel Act violations for the facilitation of
12   prostitution business enterprises. As a preliminary matter, the jury reached no verdict as to Lacey
13   on conspiracy or any Travel Act count. The jury’s finding of guilt as to other defendants does
14   not establish Lacey’s knowledge about anything.
15          Furthermore, as has been litigated in this case, and as this Court instructed the jury, the First
16   Amendment presumption for protected expression is at issue here. Lacey, like any other person, is
17   entitled to presume that third-party speech is protected expression unless he has information that a
18   particular ad was an ad for prostitution services as opposed to an ad for lawful sexual services such
19   as stripping, sensual massage, etc. There is no proof that Lacey believed anything other than that
20   the speech at issue – the publication of third-party ads – was protected expression.
21          The evidence the government points to as proof of his knowledge is, again, is not proof of
22   anything. For example, Lacey’s authoring of the draft article entitled, Backpage Understood, shows
23   that he believed that Backpage had extensive technology in place to keep ads proposing illegal
24   transactions off the website. (Ex. 113A.) To the extent that article can be read to suggest that Lacey
25   somehow had knowledge of ads proposing illegal transactions on the website, Ferrer quickly
26   dispelled that notion, advising Lacey that “I do not have prostitution ads.” (Ex. 115B.)
27          The remainder of the government’s proof of knowledge is episodic/anecdotal opinions
28                                                     9
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 1   about ads from elected officials, religious leaders, and journalists opining that anybody can tell that
 2   the ads were prostitution ads. This anyone-can-tell evidence was contradicted by law enforcement
 3   witnesses who testified that ads did not provide probable cause to make an arrest, including one
 4   who testified even the one charged ad that arguably was an express offer of sex for money did not
 5   provide probable cause for an arrest. (Day 17 P.M. 117-18 (Det. Murray testifying no probable
 6   cause to arrest based solely on ad saying “80 for head, 120 for hooking up without head, 150
 7   for hooking up with head.”).) This anyone-can-tell evidence was further contradicted by an
 8   expert who testified that it is impossible to know from the face of an ad whether the poster
 9   was engaged in prostitution and, further, it is statistically impossible to know what percentage
10   of ads on Backpage were associated with prostitution. (Day 24 P.M. 43-44, 48-53, 87-96.)
11   This testimony came from an expert who responded to ads and met in person with people
12   who posted ads (unlike Ferrer, who testified he had never done so). (Id.) Further, counsel for
13   Backpage expressed the unequivocal view that Backpage was a lawful platform for the
14   publication of third-party ads concerning adult entertainment. (Ex. 171.)
15          Finally, even if all that evidence was to be disregarded, the government’s own proof
16   demonstrated that no less than 6% of revenue originated from non-adult ad categories as to which
17   the government admits the ads were lawful. (Ex. 1480). Because the government did no tracing of
18   the funds at issue in Count 100, there was no evidence that the funds Lacey transferred to Hungary
19   were criminal proceeds, as opposed to revenues from the publication of unquestionably lawful non-
20   adult ads (which the government’s evidence proved accounted for at least 6% of Backpage.com
21   revenues) or from adult ads the jury was required to assume were constitutionally protected. The
22   government had the burden to prove that the funds transferred to the Hungarian trust were criminal
23   proceeds, but, as Thai conceded, he did not do an ad-by-ad analysis and had no idea if any particular
24   revenue to Backpage was tied to the publication of a constitutionally unprotected ad. (Day 19 AM
25   at 44-48, 54.) That concession is fatal to the government’s claim that the transfer constituted
26   criminal proceeds and to Lacey’s knowledge of proceeds.
27

28                                                     10
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 1          RESPECTFULLY SUBMITTED this 18th day of January, 2024,
 2
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                                               Erin McCampbell Paris
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 5                                             By:   /s/ Paul J. Cambria, Jr.
 6                                                   Paul J. Cambria, Jr.
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